              Case 22-15432-RG                     Doc 1     Filed 07/06/22 Entered 07/06/22 17:10:44                        Desc Main
                                                             Document      Page 1 of 70
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of New JerseyDistrict of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                             
                                                             ✔ Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               06/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Henry
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or         __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Bell
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                 Jr.
                                        ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           5    8    4    2
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           299 Ege Avenue                                                    _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Jersey City                             NJ
                                           _________________________________________________
                                                                                             07304           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Hudson County                                                     _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                            
                                            ✔ Chapter 13




 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                          deficiency that makes me
                                                                  incapable of realizing or making                                  incapable of realizing or making
                                                                  rational decisions about finances.                                rational decisions about finances.
                                               Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                  to be unable to participate in a
                                                                  briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                  through the internet, even after I                                through the internet, even after I
                                                                  reasonably tried to do so.                                        reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                
                                              ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                        No
    administrative expenses
    are paid that funds will be                         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                      1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                     
                                              ✔ 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                 
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                              
                                              ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Henry Bell Jr.
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    07/06/2022
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Moshie Solomon                                                Date          _________________
                                                                                                                                07/06/2022
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Moshie Solomon
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Law Offices of Moshie Solomon, P.C.
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 One University Plaza
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 412
                                                _________________________________________________________________________________________________

                                                 Hackensack                                                      NJ            07601
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone (201)  705-1470
                                                               ______________________________        Email address
                                                                                                                     msolomon@moshiesolomonlaw.com
                                                                                                                     _________________________________________



                                                 018422001                                                       NJ
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Henry Bell Jr.
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 320,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 123,095.63
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 443,095.63
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 759,324.28
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 8,307.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 126,113.65
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 893,744.93
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,639.39
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 5,360.69
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,436.21
                                                                                                                                        $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                      8,307.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                     37,200.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                               45,507.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
               Case 22-15432-RG                                 Doc 1             Filed 07/06/22 Entered 07/06/22 17:10:44                                                                 Desc Main
                                                                                 Document      Page 10 of 70

Fill in this information to identify your case and this filing:

                    Henry Bell Jr.
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: District of New
Jersey
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 299 Ege Avenue                                                             Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Jersey City NJ            07304
                                                                                   Land                                                                         $ 320,000.00                        $ 320,000.00
            City           State      ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Hudson County                                                          Other                                                                        entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check                                     Fee simple
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 320,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 6
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Debtor 1          Henry Bell Jr.
                 First Name          Middle Name         Last Name
                                                                                  Document      Page 11 of 70      Case number(if known)



    3.1 Make:GMC                                                                  Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Savannah                                                                                                                                       amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2014
                                                                                       Debtor 2 only
           Approximate mileage: 86500                                                                                                                              Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 20,188.00
              Condition:Fair;                                                                                                                                                                           $ 20,188.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 20,188.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Household Goods and Furnishings                                                                                                                                                               $ 7,500.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Laptop                                                                                                                                                                                        $ 300.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...

          2 handguns (.45 Glock and Baretta)                                                                                                                                                            $ 800.00
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

          Clothing                                                                                                                                                                                      $ 500.00




                                                                                                                                                                                                                      page 2 of 6
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Debtor 1         Henry Bell Jr.
                First Name            Middle Name           Last Name
                                                                                       Document      Page 12 of 70      Case number(if known)



  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Movado Watch; Wedding Band                                                                                                                                                                   $ 700.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

        2 Cats                                                                                                                                                                                       $ 0.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 9,800.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     TD Bank (Checking) (owned with Wife)                                                                                             $ 12.05

        17.2. Checking account:                                     TD Bank (Checking)                                                                                                               $ 0.00

        17.3. Other financial account:                              E.L. Employees FCU                                                                                                               $ 5.17

        17.4. Other financial account:                              Jersey Central Federal Credit Union                                                                                              $ 5.28

        17.5. Other financial account:                              Excel Federal Credit Union                                                                                                       $ 25.13

        17.6. Savings account:                                      Capital One (Savings)                                                                                                            $ 10.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........




                                                                                                                                                                                                                 page 3 of 6
            Case 22-15432-RG                            Doc 1        Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor 1        Henry Bell Jr.
               First Name         Middle Name     Last Name
                                                                    Document      Page 13 of 70      Case number(if known)



  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
       Type of account                    Institution name
       Pension plan:                      State of NJ PERS Pension                                                                     $ 20,000.00
       Retirement account:                NJ Transit Retirement 401(a) and 457 Plans (Empower Retirement)                              $ 70,400.00
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................       Institution name or individual:
       Other                              Capital One (Secured Credit Card)                                                            $ 450.00
       Other                              TD Bank (Secured Credit Card)                                                                $ 1,000.00
       Security deposit on rental unit           Gaetana Barba (PA Landlord)                                                           $ 1,200.00
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

       Electrician License                                                                                                             $ Unknown

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:             $ 0.00
                                                                                                                 State:               $ 0.00
                                                                                                                 Local:               $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....




                                                                                                                                                     page 4 of 6
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Debtor 1          Henry Bell Jr.
                First Name          Middle Name          Last Name
                                                                                 Document      Page 14 of 70      Case number(if known)



  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....

        Potential Malpractice Claim against Debtor's former bankruptcy counsel (Leonard S. Singer, Esq.), Personal Injury Claim
                                                                                                                                                                                                     $ Unknown
        against New Jersey Transit (Bell v. NJ Transit Rail Operations, Inc., Superior Court of NJ, Essex County, L005075-20)
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤           $ 93,107.63


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                                   $ 0.00




                                                                                                                                                                                                                  page 5 of 6
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Debtor 1            Henry Bell Jr.
                  First Name            Middle Name           Last Name
                                                                                        Document      Page 15 of 70      Case number(if known)



 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                         $ 320,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 20,188.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 9,800.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 93,107.63
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 123,095.63                     Copy personal property total➤   +$
                                                                                                                                                                                                      123,095.63
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 443,095.63




                                                                                                                                                                                                           page 6 of 6
               Case 22-15432-RG                Doc 1        Filed 07/06/22 Entered 07/06/22 17:10:44                                     Desc Main
                                                           Document      Page 16 of 70
 Fill in this information to identify your case:

                     Henry Bell Jr.
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of New Jersey District of __________
                                                                                  (State)
 Case number
  (If known)
                     ___________________________________________                                                                               Check if this is an
                                                                                                                                                  amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                      4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                         exemption you claim

                                                          Copy the value from                     Check only one box
                                                          Schedule A/B                            for each exemption
                 299 Ege Avenue                                                                                                  11 USC § 522(d)(1)
 Brief
 description:
                                                                  320,000.00
                                                                 $________________             27,900.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:        1.1
                 2014 GMC Savannah                                                                                               11 USC § 522(d)(2)
 Brief
 description:
                                                                   20,188.00
                                                                 $________________             4,450.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:         3.1
                 Household Goods - Household Goods and                                                                           11 USC § 522(d)(3)
 Brief
 description:
                 Furnishings                                       7,500.00
                                                                 $________________             7,500.00
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
 Line from                                                                                      any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                          2
                                                                                                                                                      page 1 of __
               Case 22-15432-RG Doc 1 Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor           Henry Bell Jr.                      Document
                _______________________________________________________
                                                                        Page 17 of Case
                                                                                    70 number (if known)_____________________________________
                 First Name      Middle Name         Last Name




 Pa rt 2 :       Addit iona l Pa ge

            description of the property and line
         Brief                                                                               Amount of the                       Specific laws that allow exemption
                                                                      Current value of the   exemption you claim
         on Schedule A/B that lists this property                     portion you own
                                                                     Copy the value from    Check only one box
                                                                      Schedule A/B           for each exemption
                Electronics - Laptop                                                                                              11 USC § 522(d)(5)
Brief
description:
                                                                       300.00
                                                                      $________________         300.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          7
                Firearms - 2 handguns (.45 Glock and Baretta)                                                                     11 USC § 522(d)(5)
Brief
description:                                                          $________________
                                                                       800.00                
                                                                                             ✔ $ ____________
                                                                                                 800.00
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:          10
                Clothing - Clothing                                                                                               11 USC § 522(d)(3)
Brief
description:                                                          $________________
                                                                       500.00                
                                                                                             ✔ $ ____________
                                                                                                 500.00
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          11
                Jewelry - Movado Watch; Wedding Band                                                                              11 USC § 522(d)(4)
Brief
description:
                                                                       700.00
                                                                      $________________         700.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         12
                TD Bank (Checking) (owned with Wife) (Checking                                                                    11 USC § 522(d)(5)
Brief           Account)
description:
                                                                       12.05
                                                                      $________________         12.05
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          17.1
                NJ Transit Retirement 401(a) and 457 Plans (Empower                                                               11 USC § 522(d)(12)
Brief
description:
                Retirement)                                            70,400.00
                                                                      $________________         70,400.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:           21
                State of NJ PERS Pension                                                                                          11 USC § 522(d)(10)(e)
Brief
description:
                                                                       20,000.00
                                                                      $________________         20,000.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:       21
             Personal Injury Claim against New Jersey Transit (Bell v.                                                            11 USC § 522(d)(11)(d)
Brief        NJ Transit Rail Operations, Inc., Superior Court of NJ,
description: Essex County, L005075-20) (owed to debtor)
                                                                        Unknown
                                                                       $________________        27,900.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:       33
             Personal Injury Claim against New Jersey Transit (Bell v.                                                            11 USC § 522(d)(11)(e)
Brief        NJ Transit Rail Operations, Inc., Superior Court of NJ,
description: Essex County, L005075-20) (owed to debtor)
                                                                        Unknown
                                                                       $________________      $ ____________
                                                                                             
                                                                                             ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:            33

Brief
description:                                                          $________________       $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:
Brief
description:                                                          $________________       $ ____________
                                                                                              100% of fair market value, up to
                                                                                                any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                          $________________       $ ____________
                                                                                              100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    2   2
                                                                                                                                                  page ___ of __
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                                                                       Document      Page 18 of 70
  Fill in this information to identify your case:

  Debtor 1           Henry Bell Jr.
                     First Name                                Last Name
                                          Middle Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                             Describe the property that secures the claim: $ 18,974.94       $ 20,188.00       $ 0.00

                                                                2014 GMC Savannah - $20,188.00
       Ally Financial
       Creditor’s Name
       PO Box 380901
       Number        Street
                                                               As of the date you file, the claim is: Check all
       Minneapolis MN             55438                        that apply.
       City               State   ZIP Code
                                                                  Contingent
       Who owes the debt? Check one.                              Unliquidated
         Debtor 1 only                                            Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
         At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                  secured car loan)
              Check if this claim relates to a                    Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                      Judgment lien from a lawsuit
                                                                  Other (including a right to offset)
       Date debt was incurred
                                                               Last 4 digits of account number




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                   page 1 of 3
                 Henry Bell Jr.
Debtor           Case    22-15432-RG
                First Name           Middle Name    Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                          17:10:44          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 19 of 70
 2.2                                                                Describe the property that secures the claim: $ 458,376.59           $ 320,000.00   $ 418,999.34

                                                                   299 Ege Avenue, Jersey City, NJ 07304 - $320,000.00
        SRP 2013-8, LLC
        Creditor’s Name
        KML Law Group, PC
        Number       Street
                                                                  As of the date you file, the claim is: Check all
        701 Market Street, Ste 5000                               that apply.
                                                                     Contingent
        Philadelphia PA                19106                         Unliquidated
        City                 State     ZIP Code
                                                                     Disputed
        Who owes the debt? Check one.
          Debtor 1 only                                           Nature of lien. Check all that apply.
          Debtor 2 only                                              An agreement you made (such as mortgage or
                                                                     secured car loan)
          Debtor 1 and Debtor 2 only
                                                                     Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another
                                                                     Judgment lien from a lawsuit
               Check if this claim relates to a                      Other (including a right to offset)
               community debt
                                                                  Last 4 digits of account number
        Date debt was incurred 11/03/2017

 2.3                                                                Describe the property that secures the claim: $ 1,350.00             $ 320,000.00   $ 1,350.00

                                                                   299 Ege Avenue, Jersey City, NJ 07304 - $320,000.00
        State of New Jersey, Dept. of Community
        Creditor’s Name
        Affairs
                                                                  As of the date you file, the claim is: Check all
        Bureau of Housing Inspection                              that apply.
        Number       Street
                                                                     Contingent
        101 Broad Street, PO Box 810                                 Unliquidated
                                                                     Disputed
        Trenton NJ             08625-0810
        City        State      ZIP Code                           Nature of lien. Check all that apply.
        Who owes the debt? Check one.                                An agreement you made (such as mortgage or
          Debtor 1 only                                              secured car loan)
                                                                     Statutory lien (such as tax lien, mechanic’s lien)
          Debtor 2 only
                                                                     Judgment lien from a lawsuit
          Debtor 1 and Debtor 2 only
                                                                     Other (including a right to offset)
          At least one of the debtors and another
                                                                  Last 4 digits of account number
               Check if this claim relates to a
               community debt

        Date debt was incurred 02/17/2022

 2.4                                                                Describe the property that secures the claim: $ 280,622.75           $ 320,000.00   $ 0.00

                                                                   299 Ege Avenue, Jersey City, NJ 07304 - $320,000.00
        U.S. Bank Trust N.A., as Trustee
        Creditor’s Name
        13801 Wireless Way
        Number       Street
                                                                  As of the date you file, the claim is: Check all
        Oklahoma City OK                 73134                    that apply.
        City                   State     ZIP Code
                                                                     Contingent
        Who owes the debt? Check one.                                Unliquidated
          Debtor 1 only                                              Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                              Nature of lien. Check all that apply.
          At least one of the debtors and another                    An agreement you made (such as mortgage or
                                                                     secured car loan)
               Check if this claim relates to a                      Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                        Judgment lien from a lawsuit
                                                                     Other (including a right to offset)
        Date debt was incurred
                                                                  Last 4 digits of account number 5996

       Add the dollar value of your entries in Column A on this page. Write that number here:                             $ 759,324.28


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

Official Form 106D                                                 Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
                Henry Bell Jr.
Debtor          Case    22-15432-RG
                First Name         Middle Name     Last Name   Doc 1    Filed 07/06/22 Entered 07/06/22 Case
                                                                                                        17:10:44          Desc Main
                                                                                                             number(if known)

                                                                       Document      Page 20 of 70
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.
         Select Portfolio Servicing Inc.                                            On which line in Part 1 did you enter the creditor? 2.4
         Creditor’s Name                                                            Last 4 digits of account number 5996
         Attn: Bankruptcy Dept.
         Number        Street
         PO Box 65250

         Salt Lake City UT              84165
         City                   State   ZIP Code




Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                         page 3 of 3
                Case 22-15432-RG                         Doc 1       Filed 07/06/22 Entered 07/06/22 17:10:44                                  Desc Main
                                                                    Document      Page 21 of 70
   Fill in this information to identify your case:

                   Henry Bell Jr.
   Debtor 1
                   First Name                                Last Name
                                         Middle Name

   Debtor 2
   (Spouse, if filing) First Name              Middle Name
                                                                  Last Name



   United States Bankruptcy Court for the: District of New Jersey

   Case number                                                                                                                                              Check if this is
   (if know)                                                                                                                                                an amended
                                                                                                                                                            filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                 Total claim   Priority        Nonpriority
                                                                                                                                               amount          amount
  2.1                                                                    Last 4 digits of account number
         Internal Revenue Service                                                                                                $ 6,345.00    $ 6,345.00      $ 0.00
         Priority Creditor's Name
                                                                         When was the debt incurred? 2019-2020

         P.O. Box 7346                                                   As of the date you file, the claim is: Check all
         Number        Street                                            that apply.
         Philadelphia PA            19101-7346                              Contingent
         City              State    ZIP Code                                Unliquidated
         Who owes the debt? Check one.                                      Disputed
             Debtor 1 only
                                                                         Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                            Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                            Taxes and certain other debts you owe the
             At least one of the debtors and another                        government
             Check if this claim relates to a community                     Claims for death or personal injury while you were
             debt                                                           intoxicated
         Is the claim subject to offset?                                   Other. Specify
             No
             Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name        Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                       17:10:44          Desc Main
                                                                                                            number(if known)

                                                                      Document      Page 22 of 70
  2.2                                                                   Last 4 digits of account number
          State of New Jersey Division of Taxation                                                                              $ 1,962.00   $ 1,221.00   $ 741.00
          Priority Creditor's Name
                                                                        When was the debt incurred? 2016-2020

          PO Box 846                                                    As of the date you file, the claim is: Check all
          Number        Street                                          that apply.
          Trenton NJ             08646                                     Contingent
          City         State     ZIP Code                                  Unliquidated
          Who owes the debt? Check one.                                    Disputed
              Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                           Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the
              At least one of the debtors and another                      government
              Check if this claim relates to a community                   Claims for death or personal injury while you were
              debt                                                         intoxicated
          Is the claim subject to offset?                                 Other. Specify
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                          Total claim

  4.1                                                                   Last 4 digits of account number
          American Express                                                                                                                                 $ Unknown
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 2010

          PO Box 981537                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          El Paso TX             79998                                     Unliquidated
          City         State     ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                   Last 4 digits of account number 7611
          Atlantic Medical Group                                                                                                                             $ 154.21
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 2020

          c/o CMRE Financial Services Inc                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          3075 E. Imperial Hwy, Suite 200                                  Unliquidated
                                                                           Disputed
          Brea CA              92821-6753
          City      State      ZIP Code                                 Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 2 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name           Middle Name     Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                            17:10:44          Desc Main
                                                                                                                 number(if known)

                                                                           Document      Page 23 of 70
  4.3                                                                        Last 4 digits of account number
          Bank of America                                                                                                                      $ Unknown
          Nonpriority Creditor's Name
                                                                             When was the debt incurred? 2010

          PO Box 982234                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          El Paso TX             79998-2234                                     Unliquidated
          City         State     ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                        Last 4 digits of account number
          Budget                                                                                                                               $ Unknown
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          6 Sylvan Way                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Parsippany NJ                07054                                    Unliquidated
          City                State    ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                        Last 4 digits of account number 6211
          Caliber Home Loans, Inc                                                                                                              $ Unknown
          Nonpriority Creditor's Name
                                                                             When was the debt incurred? 2003

          1301 Wireless Way                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Oklahoma City OK                 73134                                Unliquidated
          City                    State    ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                      Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name         Middle Name     Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                          17:10:44          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 24 of 70
  4.6                                                                      Last 4 digits of account number 4498
          Capital One                                                                                                                          $ 560.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          PO Box 31293                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Salt Lake City UT              84131                                Unliquidated
          City                   State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                      Last 4 digits of account number 2236
          Capital One Auto Finance                                                                                                           $ 11,589.57
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 10/18/2021

          7933 Preston Road                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Plano TX            75024                                           Unliquidated
          City      State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                      Last 4 digits of account number 1231
          Capital One Bank/Bass                                                                                                                $ 352.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2020

          PO Box 31293                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Salt Lake City UT              84131                                Unliquidated
          City                   State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 4 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name           Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                          17:10:44          Desc Main
                                                                                                               number(if known)

                                                                         Document      Page 25 of 70
  4.9                                                                      Last 4 digits of account number
          Capital One Bank (USA), N.A.                                                                                                       $ 3,731.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2008

          4851 Cox Road                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Glen Allen VA               23060                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Carecentrix                                                         Last 4 digits of account number T028
                                                                                                                                              $ 250.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO Box 2011                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Monroe WI               53566-8311                                  Unliquidated
          City        State       ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.11 CarePoint Health Christ Hospital                                    Last 4 digits of account number 2405
                                                                                                                                              $ 402.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          176 Palisade Avenue                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Jersey City NJ              07306-1121                              Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                     page 5 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name           Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
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                                                                                                               number(if known)

                                                                         Document      Page 26 of 70
  4.12 CB/Peebles                                                          Last 4 digits of account number ****
                                                                                                                                             $ 726.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2017

          PO Box 182789                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Columbus OH                 43218                                   Unliquidated
          City            State       ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 CCS/First Savings Bank                                              Last 4 digits of account number 0456
                                                                                                                                             $ 464.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2019

          500 E 60th St N                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sioux Falls SD              57104                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.14 Credit One Bank Na                                                  Last 4 digits of account number 0100
                                                                                                                                             $ 606.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2019

          PO Box 98875                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Las Vegas NV                89193                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                    page 6 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name            Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
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  4.15 Del Monte Podiatry                                                   Last 4 digits of account number 0526
                                                                                                                                                $ 105.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2022

          150 Warren Street Ste 201                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Jersey City NJ                07302-6443                             Unliquidated
          City                State     ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.16 Delta Storage                                                        Last 4 digits of account number 1351
                                                                                                                                                $ 150.05
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2022

          71 New Hook Rd.                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Bayonne NJ                  07002                                    Unliquidated
          City          State         ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Services Provided
          Is the claim subject to offset?
              No
              Yes

  4.17 Dept Of Ed/582/Nelnet                                                Last 4 digits of account number 3416
                                                                                                                                              $ 37,200.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2011-2014

          PO Box 173904                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Denver CO              80217                                         Unliquidated
          City        State      ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes




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 Debtor          Case    22-15432-RG
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  4.18 Enterprise                                                          Last 4 digits of account number
                                                                                                                                             $ Unknown
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          600 Corporate Park Drive                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Saint Louis MO               63105                                  Unliquidated
          City                State    ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Services Provided
          Is the claim subject to offset?
              No
              Yes

  4.19 First Energy/Metro Edison                                           Last 4 digits of account number 5783
                                                                                                                                             $ 6,289.72
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2016

          c/o Penn Credit Corp                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          PO Box 1259, Dep. 91047                                             Unliquidated
                                                                              Disputed
          Oaks PA               19456
          City      State       ZIP Code                                   Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Utility Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.20 First Premier Bank                                                  Last 4 digits of account number 0698
                                                                                                                                              $ 720.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          601 S Minnesota Ave                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sioux Falls SD              57104                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                     page 8 of 23
                 Henry Bell Jr.
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                 First Name           Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
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  4.21 First Premier Bank                                                  Last 4 digits of account number 7129
                                                                                                                                             $ 701.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2019

          601 S Minnesota Ave                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sioux Falls SD              57104                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.22 First Saving Bank                                                   Last 4 digits of account number 0456
                                                                                                                                             $ 464.54
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO Box 5019                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sioux Falls SD              57117-5019                              Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.23 FNCC                                                                Last 4 digits of account number 8569
                                                                                                                                             $ 500.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2019

          500 East 60th St North                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sioux Falls SD              57104                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




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                 Henry Bell Jr.
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  4.24 Guthy Renker                                                        Last 4 digits of account number 3882
                                                                                                                                                $ 63.87
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          c/o North Shore Agency                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          112 W. Park Drive, Suite 200                                        Unliquidated
                                                                              Disputed
          Mount Laurel NJ                08054
          City                State      ZIP Code                          Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Services Provided
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.25 HCO 60 Evergreen Internal Medicine                                  Last 4 digits of account number 9769
                                                                                                                                                $ 20.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO Box 767                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          South Orange NJ                07079-0767                           Unliquidated
          City                   State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.26 Hop Energy LLC                                                      Last 4 digits of account number
                                                                                                                                             $ 3,175.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2009

          c/o Frederic C. Goetz, Esq. LLC                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          1011 Hudson Ave., PO Box 454                                        Unliquidated
                                                                              Disputed
          Ridgefield NJ             07657
          City            State     ZIP Code                               Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Services Provided
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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  4.27 Hudson River Radiology                                              Last 4 digits of account number 6007
                                                                                                                                              $ 926.40
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          120-152 48th Street                                              As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Union City NJ               07087                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.28 Jersey City Fire Dept.                                              Last 4 digits of account number
                                                                                                                                             $ 4,000.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 9/9/20

          465 Marin Blvd.                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Jersey City NJ              07302                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.29 Jersey City Medical Center                                          Last 4 digits of account number
                                                                                                                                             $ Unknown
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Att: Quality Asset Recovery LLC                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          PO Box 239                                                          Unliquidated
                                                                              Disputed
          Gibbsboro NJ                08026
          City                State   ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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  4.30 Jersey City Municipal Utility Authority                              Last 4 digits of account number 0000
                                                                                                                                              $ 5,255.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2021

          Customer Service Center                                           As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          69 DeVoe Place                                                       Unliquidated
                                                                               Disputed
          Hackensack NJ                  07601
          City                 State     ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                       Student loans
              Debtor 1 only                                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              Debtor 2 only
                                                                               Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                       debts
              At least one of the debtors and another                         Other. Specify Utility Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.31 Kensington & Associates                                              Last 4 digits of account number 3115
                                                                                                                                               $ 762.06
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2021

          39252 Winchester Road                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Ste 107-265                                                          Unliquidated
                                                                               Disputed
          Murrieta CA             92563
          City         State      ZIP Code                                  Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                       Student loans
              Debtor 1 only                                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              Debtor 2 only
                                                                               Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                       debts
              At least one of the debtors and another                         Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.32 Liberty Savings Federal Credit Union                                 Last 4 digits of account number
                                                                                                                                              $ 9,500.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          666 Newark Avenue                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Jersey City NJ               07306                                   Unliquidated
          City                State    ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




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  4.33 Lincoln Education Service Corp                                        Last 4 digits of account number
                                                                                                                                               $ 6,227.94
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          502 W. Germantown Pk                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Plymouth Meeting PA                   19462                           Unliquidated
          City                         State    ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify Services Provided
          Is the claim subject to offset?
              No
              Yes

  4.34 Merrick Bank Corp                                                     Last 4 digits of account number 6392
                                                                                                                                               $ 1,592.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred? 2021

          PO Box 9201                                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Old Bethpage NY                 11804                                 Unliquidated
          City                   State    ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.35 Meta Surgical Associates                                              Last 4 digits of account number
                                                                                                                                               $ 6,378.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred? 10/20/2021

          PO Box 337                                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Park Ridge NJ                07656                                    Unliquidated
          City                State    ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




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  4.36 Met-Ed                                                              Last 4 digits of account number
                                                                                                                                              $ 645.22
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2010

          PO Box 3687                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Akron OH            44309                                           Unliquidated
          City      State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.37 New Jersey E-ZPass                                                  Last 4 digits of account number 8844
                                                                                                                                                $ 51.90
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2020

          c/o Credit Collection Services                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          725 Canton Street                                                   Unliquidated
                                                                              Disputed
          Norwood MA              02062
          City           State    ZIP Code                                 Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.38 New Jersey Urology                                                  Last 4 digits of account number 5563
                                                                                                                                                $ 10.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2022

          CL#7970                                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          PO Box 95000                                                        Unliquidated
                                                                              Disputed
          Philadelphia PA               19195-0001
          City                State     ZIP Code                           Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




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  4.39 NJ Medical & Health Associates                                         Last 4 digits of account number 4486
                                                                                                                                                   $ 80.00
          Nonpriority Creditor's Name
                                                                              When was the debt incurred? 2019-2020

          DBA CarePoint Medical Group                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                   Contingent
          Philadelphia PA               19182-4276                               Unliquidated
          City                State     ZIP Code
                                                                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                     Student loans
              Debtor 1 and Debtor 2 only                                         Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
              At least one of the debtors and another
                                                                                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                              Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.40 One Oak Medical Group LLC                                              Last 4 digits of account number 2654
                                                                                                                                                $ 4,062.20
          Nonpriority Creditor's Name
                                                                              When was the debt incurred? 08/21/2020

          342 Hamburg Turnpike                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                                   Contingent
          Suite 203                                                              Unliquidated
                                                                                 Disputed
          Wayne NJ               07470
          City        State      ZIP Code                                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                         Student loans
              Debtor 1 only                                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
              Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                         debts
              At least one of the debtors and another                           Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.41 Pocono Medical Center                                                  Last 4 digits of account number 4641
                                                                                                                                                $ 3,882.29
          Nonpriority Creditor's Name
                                                                              When was the debt incurred? 2016

          c/o Computer Credit Inc.                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                                   Contingent
          470 West Hanes Mill Road                                               Unliquidated
                                                                                 Disputed
          Winston Salem NC                  27113-5238
          City                    State     ZIP Code                          Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                         Student loans
              Debtor 1 only                                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
              Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                         debts
              At least one of the debtors and another                           Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                       Schedule E/F: Creditors Who Have Unsecured Claims                    page 15 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name           Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
                                                                                                          17:10:44          Desc Main
                                                                                                               number(if known)

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  4.42 PSE&G                                                               Last 4 digits of account number 7601
                                                                                                                                             $ 7,759.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2022

          PO Box 709                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Newark NJ               07101-0709                                  Unliquidated
          City        State       ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Utility Services
          Is the claim subject to offset?
              No
              Yes

  4.43 Publishers Clearing House                                           Last 4 digits of account number 3442
                                                                                                                                                $ 34.23
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          c/o Penn Credit Corp                                             As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          2800 Commerce Drive                                                 Unliquidated
                                                                              Disputed
          Harrisburg PA               17110
          City                State   ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Services Provided
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.44 Pyramid Healthcare, Inc.                                            Last 4 digits of account number 0043
                                                                                                                                                $ 95.55
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 01/22/2022

          PO Box 3475                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Toledo OH              43607-0475                                   Unliquidated
          City       State       ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                    page 16 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
                 First Name         Middle Name   Last Name   Doc 1     Filed 07/06/22 Entered 07/06/22 Case
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                                                                                                             number(if known)

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  4.45 RWJ Barnabas Health                                               Last 4 digits of account number 2749
                                                                                                                                              $ 10.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2021

          PO Box 2978                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Muncie IN              47307-0978                                 Unliquidated
          City        State      ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Medical Services
          Is the claim subject to offset?
              No
              Yes

  4.46 Satellite Radio                                                   Last 4 digits of account number
                                                                                                                                            $ 290.90
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2010

          PO Box 78054                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Phoenix AZ             85062                                      Unliquidated
          City         State     ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Services Provided
          Is the claim subject to offset?
              No
              Yes

  4.47 Simons Agency Inc                                                 Last 4 digits of account number 229*
                                                                                                                                              $ 91.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2016

          4963 Wintersweet Dr                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Liverpool NY            13088                                     Unliquidated
          City           State    ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                    page 17 of 23
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  4.48 Sleep on Call                                                       Last 4 digits of account number
                                                                                                                                              $ 388.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2010

          c/o James C. Bender, Esq.                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          29 Columbia Tpk, Suite 302                                          Unliquidated
                                                                              Disputed
          Florham Park NJ                07932
          City                   State   ZIP Code                          Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify Services Provided
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.49 Syncb/Car Care Pep Boy                                              Last 4 digits of account number 5293
                                                                                                                                             $ 1,110.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2021

          PO Box 965036                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Orlando FL              32896                                       Unliquidated
          City         State      ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.50 Tbom/Atls/Aspire                                                    Last 4 digits of account number 5587
                                                                                                                                              $ 757.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 2020

          5 Concourse Pkwy Ste 400                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Atlanta GA             30328                                        Unliquidated
          City        State      ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                    page 18 of 23
                 Henry Bell Jr.
 Debtor          Case    22-15432-RG
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                                                                                                                number(if known)

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  4.51 Tbom/Atls/Aspire                                                     Last 4 digits of account number 3224
                                                                                                                                               $ 634.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2020

          5 Concourse Pkwy Ste 400                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Atlanta GA             30328                                         Unliquidated
          City        State      ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.52 TD Bank Na                                                           Last 4 digits of account number 6173
                                                                                                                                               $ 958.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 2017

          PO Box 1448                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Greenville SC             29602                                      Unliquidated
          City            State     ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another
                                                                               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.53 The Palmer Firm                                                      Last 4 digits of account number
                                                                                                                                              $ 1,915.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          PO Box 1600                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Rancho Cucamonga CA                     91729                        Unliquidated
          City                           State    ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Services Provided
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                    page 19 of 23
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  4.54 Verizon Wireless Bankruptcy Administration                            Last 4 digits of account number 0001
                                                                                                                                                                              $ 474.00
          Nonpriority Creditor's Name
                                                                             When was the debt incurred?

          500 Technology Drive                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                                  Contingent
          Weldon Spring MO                 63304                                Unliquidated
          City                   State     ZIP Code
                                                                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                    Student loans
              Debtor 1 and Debtor 2 only                                        Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
              At least one of the debtors and another                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                        debts
              debt                                                             Other. Specify Telephone / Internet services
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Aspire                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                        Line 4.50 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 650832
        Number       Street                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Dallas TX             75265-0832                                                Claims
        City      State       ZIP Code
                                                                                        Last 4 digits of account number


        Aspire                                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                        Line 4.51 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 105555
        Number       Street                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Atlanta GA            30348-5555                                                Claims
        City       State      ZIP Code
                                                                                        Last 4 digits of account number 5587


        Capital One                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                        Line 4.6     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 6492
        Number       Street                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Carol Stream IL                60197-6492                                       Claims
        City                  State    ZIP Code
                                                                                        Last 4 digits of account number


        Dept of Education/Nelnet                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                        Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        121 S 13th St
        Number       Street                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Lincoln NE            68508                                                     Claims
        City       State      ZIP Code
                                                                                        Last 4 digits of account number


        Fedloan                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                        Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Po Box 60610
        Number       Street                                                                                                   Part 2: Creditors with Nonpriority Unsecured
        Harrisburg PA             17106                                                 Claims
        City             State    ZIP Code
                                                                                        Last 4 digits of account number




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                                                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
        First National Bank
        Creditor’s Name                                                             Line 4.23 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 2496                                                                                                       Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                                    Claims
        Omaha NE             68103-2496
        City      State      ZIP Code                                               Last 4 digits of account number 8569


        First National Credit Card                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.23 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 5097
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Sioux Falls SD             57117-5097                                       Claims
        City             State     ZIP Code
                                                                                    Last 4 digits of account number


        First Premier Bank                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.21 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 5524
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Sioux Falls SD             57117-5524                                       Claims
        City             State     ZIP Code
                                                                                    Last 4 digits of account number 7129


        First Premier Bank                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.20 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 5519
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Sioux Falls SD             57117-5519                                       Claims
        City             State     ZIP Code
                                                                                    Last 4 digits of account number


        Goldman & Warshaw, P.C.                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO Box 2500
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Caldwell NJ              07007-9897                                         Claims
        City        State        ZIP Code
                                                                                    Last 4 digits of account number


        Merrick Bank                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.34 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 660702
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Dallas TX           75266-0702                                              Claims
        City     State      ZIP Code
                                                                                    Last 4 digits of account number 6392


        New Jersey Division of Taxation, Bankruptcy Unit                            On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 2.2     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        50 Barrack Street, 9th Floor
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        P.O. Box 245                                                                Claims
                                                                                    Last 4 digits of account number
        Trenton NJ             08695-0267
        City      State        ZIP Code


        Revco Solutions                                                             On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                    Line 4.10 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 163279
        Number     Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Columbus OH               43216                                             Claims
        City           State      ZIP Code
                                                                                    Last 4 digits of account number




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                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
        Selip & Stylianou LLP
        Creditor’s Name                                                           Line 4.33 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        10 Forest Avenue- Suite 300                                                                                     Part 2: Creditors with Nonpriority Unsecured
        Number     Street
                                                                                  Claims
        PO Box 914
                                                                                  Last 4 digits of account number
        Paramus NJ             07653-0914
        City        State      ZIP Code


        Smileactive                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.24 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        PO Box 2031
        Number     Street                                                                                               Part 2: Creditors with Nonpriority Unsecured
        Harlan IA           51593-0074                                            Claims
        City     State      ZIP Code
                                                                                  Last 4 digits of account number


        Synergetic Communications Inc,                                            On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.52 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        5450 N.W. Central #220
        Number     Street                                                                                               Part 2: Creditors with Nonpriority Unsecured
        Houston TX             77092-2016                                         Claims
        City       State       ZIP Code
                                                                                  Last 4 digits of account number 5715


        US Dept of Education                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        101 Marietta Tower
        Number     Street                                                                                               Part 2: Creditors with Nonpriority Unsecured
        Atlanta GA          30323                                                 Claims
        City     State      ZIP Code
                                                                                  Last 4 digits of account number


        US Dept. of Education                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                  Line 4.17 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        Default Resolution Group
        Number     Street                                                                                               Part 2: Creditors with Nonpriority Unsecured
        PO Box 5609                                                               Claims
                                                                                  Last 4 digits of account number
        Greenville TX           75403-5609
        City           State    ZIP Code

   Part 4:       Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                  Total claim

   Total claims          6a. Domestic support obligations                                               6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                                  6b.   $ 8,307.00
                         government
                         6c. Claims for death or personal injury while you were                         6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that                 6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                            6e.
                                                                                                               $ 8,307.00




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                                                                                                              Total claim

   Total claims        6f. Student loans                                                            6f.   $ 37,200.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                     6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                      6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that            6i.   $ 88,913.65
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                          6j.
                                                                                                           $ 126,113.65




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              Case 22-15432-RG                           Doc 1    Filed 07/06/22 Entered 07/06/22 17:10:44                           Desc Main
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  Fill in this information to identify your case:

  Debtor 1
                     Henry Bell Jr.
                      First Name                                 Last Name
                                           Middle Name

  Debtor 2
  (Spouse, if filing) First Name                Middle Name
                                                                      Last Name



  United States Bankruptcy Court for the: District of New Jersey

  Case number                                                                                                                             Check if this is
  (if know)                                                                                                                               an amended
                                                                                                                                          filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease                          State what the contract or lease is for

 2.1                                                                                       Month to Month Lease of 6216 Decker Road, Bushkill, PA 18324
          Gaetana Barba                                                                    Lessee
          Name
          59 S. Windhorst Avenue
          Street
          Bethpage NY              11714
          City            State    ZIP Code




Official Form 106G                                            Schedule G: Executory Contracts and Unexpired Leases                                page 1 of 1
                 Case 22-15432-RG                    Doc 1      Filed 07/06/22 Entered 07/06/22 17:10:44                            Desc Main
                                                               Document      Page 45 of 70
Fill in this information to identify your case:

Debtor 1
                 Henry Bell Jr.
                  First Name                            Last Name
                                  Middle Name

Debtor 2
(Spouse, if filing) First Name         Middle Name
                                                             Last Name



United States Bankruptcy Court for the: District of New Jersey

Case number                                                                                                                                   Check if this is
(if know)                                                                                                                                     an amended
                                                                                                                                              filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                 Check all schedules that apply:
3.1     Brenda Bell                                                                                  Schedule D, line
        Name                                                                                         Schedule E/F, line
        6216 Decker Road                                                                             Schedule G, line 2.1
        Street
        Bushkill                                                    PA       18324
        City                                                        State    ZIP Code




Official Form 106H                                                          Schedule H: Your Codebtors                                               page 1 of 1
               Case 22-15432-RG                Doc 1       Filed 07/06/22 Entered 07/06/22 17:10:44                           Desc Main
                                                          Document      Page 46 of 70
 Fill in this information to identify your case:

                      Henry Bell Jr.
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of New Jersey District
                                                                                tate)
 Case number         ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                         Employed
    employers.                                                         Not employed                               
                                                                                                                   ✔ Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Electrician
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       City of Jersey City
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address           280 Grove Street
                                                                   _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      Jersey City, NJ 07307
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   3 years                                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       4,633.42                    0.00
                                                                                              $___________          $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      + $____________
                                                                                                                            0.00

 4. Calculate gross income. Add line 2 + line 3.                                        4.       4,633.42
                                                                                              $__________                    0.00
                                                                                                                    $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
             Case 22-15432-RG
              Henry Bell Jr.
                                                          Doc 1          Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor 1         _______________________________________________________Document      Page 47 of Case
                                                                                                  70 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      4,633.42
                                                                                                                        $___________                  0.00
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         747.24
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.         401.55
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.         526.83
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.         190.97
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
                                                                                                                              54.17
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       1,920.75
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       2,712.67
                                                                                                                        $____________                  0.00
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                    0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________
                   Disability (from employer)                                      8f.                                     2,276.72
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.       2,276.72
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           4,989.39
                                                                                                                        $___________    +             0.00
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                       4,989.39

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              Monthly Contribution from Son
    Specify: _______________________________________________________________________________                                                                11. + $_____________
                                                                                                                                                                       650.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       5,639.39
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
               Case 22-15432-RG                 Doc 1         Filed 07/06/22 Entered 07/06/22 17:10:44                                     Desc Main
                                                             Document      Page 48 of 70
  Fill in this information to identify your case:

                     Henry Bell Jr.
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          District of New Jersey
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                          expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
                                                                                           Wife                                     57           ✔ No
                                                                                                                                                 
   Do not state the dependents’                                                           _________________________                ________
   names.                                                                                                                                         Yes
                                                                                           Daughter                                 11           ✔ No
                                                                                                                                                 
                                                                                          _________________________                ________
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,341.45
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      161.66
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   250.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
               Case 22-15432-RG                  Doc 1            Filed 07/06/22 Entered 07/06/22 17:10:44                    Desc Main
                                                                 Document      Page 49 of 70
                    Henry Bell Jr.
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                    1,200.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      200.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                      160.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      100.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      250.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                       60.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      140.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                       40.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      550.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                       15.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      234.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  IRS Payment Plan
        Specify: ________________________________________________________                                        16.
                                                                                                                                      100.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      458.58
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
              Case 22-15432-RG                  Doc 1           Filed 07/06/22 Entered 07/06/22 17:10:44                        Desc Main
                                                               Document      Page 50 of 70
                   Henry Bell Jr.
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Tobacco
                                                                                                                                         50.00
                                                                                                                   21.   +$_____________________
Pet Care
______________________________________________________________________________________                                                   50.00
                                                                                                                         +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 5,360.69
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 5,360.69
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,639.39
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 5,360.69
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    278.70
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                 Case 22-15432-RG                   Doc 1     Filed 07/06/22 Entered 07/06/22 17:10:44                           Desc Main
                                                             Document      Page 51 of 70
Fill in this information to identify your case:

Debtor 1           Henry Bell Jr.
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:District of New Jersey  District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Henry Bell Jr.
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              07/06/2022
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
              Case 22-15432-RG                         Doc 1           Filed 07/06/22 Entered 07/06/22 17:10:44                                     Desc Main
                                                                      Document      Page 52 of 70

 Fill in this information to identify your case:

                    Henry Bell Jr.
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name              Last Name



 United States Bankruptcy Court for the: District of New Jersey

 Case number
 (if know)                                                                                                                                                     Check if this is
                                                                                                                                                               an amended
                                                                                                                                                               filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                              Debtor 1                                           Debtor 2

                                                                              Sources of income         Gross income             Sources of income          Gross income
                                                                              Check all that apply      (before deductions       Check all that apply       (before deductions
                                                                                                        and exclusions)                                     and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                               Wages,              $ 18,000.00                    Wages,              $
                                                                                 commissions,                                       commissions,
                                                                                 bonuses, tips                                      bonuses, tips
                                                                                 Operating a business                               Operating a business


         For last calendar year:
                                                                                 Wages,              $ 60,190.00                    Wages,              $
         (January 1 to December 31, 2021                                         commissions,                                       commissions,
                                                                                 bonuses, tips                                      bonuses, tips
                                                                                 Operating a business                               Operating a business


         For the calendar year before that:
                                                                                 Wages,              $ 188,176.00                   Wages,              $
         (January 1 to December 31, 2020                                         commissions,                                       commissions,
                                                                                 bonuses, tips                                      bonuses, tips
                                                                                 Operating a business                               Operating a business



Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1 of 7
               Case 22-15432-RG                                 Doc 1      Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor          Henry Bell Jr.
               First Name        Middle Name        Last Name
                                                                          Document      Page 53 of 70      Case number(if known)



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                           Debtor 1                                                                      Debtor 2

                                           Sources of income                         Gross income from each              Sources of income   Gross income from each
                                           Describe below.                           source                              Describe below.     source
                                                                                     (before deductions and                                  (before deductions and
                                                                                     exclusions)                                             exclusions)
  From January 1 of
  current year until the                       NJT Disability Benefit                 $ 11,659.00
  date you filed for
  bankruptcy:
  For last calendar year:
                                               NJT Disability Benefit                 $ 8,800.00
  (January 1 to December
  31, 2021
  For the calendar year
  before that:                                 Employment                             $

  (January 1 to December
  31, 2020


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



Official Form 107                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 2 of 7
                 Case 22-15432-RG                            Doc 1      Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor            Henry Bell Jr.
                 First Name        Middle Name   Last Name
                                                                       Document      Page 54 of 70      Case number(if known)




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                                    Nature of the case                      Court or agency                            Status of the
                                                                                                                                                       case

    Case title:                                                                                                                                           Pending
    SRP 2013-8, LLC v. Henry Bell                                   Deficiency Action after
                                                                                                           Superior Court of NJ, Hudson County            On appeal
    Case number: L-2021-17                                          Foreclosure of 289 Van
                                                                                                           Court Name
                                                                    Nostrand Ave, Jersey City, NJ;                                                        Concluded
                                                                    Date filed: 05/18/2017                 595 Newark Ave
                                                                                                           Number     Street
                                                                                                           Jersey City NJ         07306
                                                                                                           City          State    ZIP Code

    Case title:                                                                                                                                           Pending
    Henry Bell Jr. v. New Jersey                                    Personal Injury Claim; Date
                                                                                                           Superior Court of NJ, Essex County             On appeal
    Transit Rail Operations, Inc.                                   filed: 07/20/2020
                                                                                                           Court Name
    Case number: L-005075-20                                                                                                                              Concluded
                                                                                                           50 West Market Street
                                                                                                           Number     Street
                                                                                                           Newark NJ           07102
                                                                                                           City      State     ZIP Code


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.
                                                                       Describe the property                                                 Date      Value of the
                                                                                                                                                       property
                                                                                                                                             08/2021   $ 6,750.00
                                                                      12 BMW 5-Series
          Capital One Auto Finance
          Creditor’s Name
          7933 Preston Road                                            Explain what happened
          Number         Street
          Plano TX            75024                                        Property was repossessed.
          City       State    ZIP Code                                     Property was foreclosed.
                                                                           Property was garnished.
                                                                           Property was attached, seized, or levied.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses


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                                                                       Document      Page 55 of 70      Case number(if known)



15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.

            Describe the property you lost and how                     Describe any insurance coverage for the loss                   Date of your      Value of
            the loss occurred                                                                                                         loss              property lost
                                                                       Include the amount that insurance has paid. List pending
                                                                       insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                                      9/1/21            $ 14,647.00
           Property destroyed by Hurricane Ida                        FEMA (Paid: $14,647.00)




 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                       Description and value of any property transferred              Date payment      Amount of
                                                                                                                                      or transfer was   payment
                                                                                                                                      made
                                                                                                                                      06/02/2022        $ 1,000.00
          Law Offices of Moshie Solomon, P.C.                                                                                         06/22/2022;       $ 2,500.00
          Person Who Was Paid                                                                                                         07/06/2022
          One University Plaza
          Number         Street
          Suite 412

          Hackensack NJ               07601
          City                State   ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.


Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 4 of 7
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               First Name        Middle Name   Last Name
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21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.
                                                                 Who else has or had access to it?                Describe the contents                    Do you still
                                                                                                                                                           have it?

       Delta Storage                                         .
                                                                                                                  Papers; Miscellaneous household items,      No
       Name of Storage Facility                              Name
                                                                                                                  $250.00                                     Yes
       69-71 New Hook Rd.                                    .
       Number       Street                                   Number       Street
       Bayonne NJ            07002                           .        .        .
       City          State   ZIP Code                        City     State    ZIP Code


 Part 9:        Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.



Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5 of 7
              Case 22-15432-RG                            Doc 1      Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor         Henry Bell Jr.
              First Name        Middle Name   Last Name
                                                                    Document      Page 57 of 70      Case number(if known)



28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy             page 6 of 7
              Case 22-15432-RG                             Doc 1      Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor         Henry Bell Jr.
              First Name         Middle Name   Last Name
                                                                     Document      Page 58 of 70      Case number(if known)




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Henry Bell Jr.
         Signature of Debtor 1                                                   Signature of Debtor 2

         Date 07/06/2022                                                         Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7 of 7
              Case 22-15432-RG                  Doc 1       Filed 07/06/22 Entered 07/06/22 17:10:44                             Desc Main
                                                           Document      Page 59 of 70
 Fill in this information to identify your case:                                                                 Check as directed in lines 17 and 21:
                                                                                                                 According to the calculations required by
 Debtor 1           Henry Bell Jr.
                   __________________________________________________________________                            this Statement:
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________                             1. Disposable income is not determined
                                                                                                                 ✔
 (Spouse, if filing) First Name             Middle Name               Last Name                                        under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         District of New  Jersey
                                                       District of __________                                     2. Disposable income is determined
                                                                                                                       under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                       3. The commitment period is 3 years.
                                                                                                                 ✔
                                                                                                                  4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing


Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                  10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
     Not married. Fill out Column A, lines 2-11.
    
    ✔ Married. Fill out both Columns A and B, lines 2-11.
     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                      Column A             Column B
                                                                                                      Debtor 1             Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                           2,843.00
                                                                                                      $__________                     0.00
                                                                                                                             $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                               0.00
                                                                                                      $__________                     0.00
                                                                                                                             $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                       650.00
                                                                                                      $_________                      0.00
                                                                                                                             $__________

5. Net income from operating a business, profession, or
                                                                      Debtor 1     Debtor 2
    farm
                                                                            0.00
                                                                        $______         0.00
                                                                                   $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                              0.00 – $______
                                                                     – $______         0.00

                                                                                               Copy
    Net monthly income from a business, profession, or farm                 0.00        0.00 here             0.00                  0.00
                                                                        $______    $______            $_________            $__________

6. Net income from rental and other real property                     Debtor 1     Debtor 2

    Gross receipts (before all deductions)                                  0.00
                                                                        $______         0.00
                                                                                   $______

    Ordinary and necessary operating expenses                              0.00 – $______
                                                                     – $______         0.00

                                                                                               Copy
    Net monthly income from rental or other real property                   0.00
                                                                        $______         0.00 here
                                                                                   $______                     0.00
                                                                                                      $_________                     0.00
                                                                                                                            $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 1
                 Case 22-15432-RG                                            Doc 1
                                                              Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor 1                Henry Bell Jr.                      Document
                       _______________________________________________________
                                                                               Page 60 of Case
                                                                                           70 number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A              Column B
                                                                                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                                                                                          non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                           0.00
     under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________          $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
        Disability                                                                                                                                                       1,943.21
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                                        0.00
                                                                                                                                                               + $____________                      0.00
                                                                                                                                                                                          + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                   5,436.21
                                                                                                                                                                     $____________    +             0.00
                                                                                                                                                                                           $___________        = $________
                                                                                                                                                                                                                    5,436.21
                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                  monthly income




Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                  5,436.21
                                                                                                                                                                                                               $_____________
13. Calculate the marital adjustment. Check one:

      You are not married. Fill in 0 below.
      You are married and your spouse is filing with you. Fill in 0 below.
     
     ✔ You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                     + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                       Copy here             ─____________
                                                                                                                                                                                                                        0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        5,436.21
                                                                                                                                                                                                                $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                             page 2
                  Case 22-15432-RG                                        Doc 1
                                                             Filed 07/06/22 Entered 07/06/22 17:10:44 Desc Main
Debtor 1              Henry   Bell Jr.                     Document
                      _______________________________________________________
                                                                              Page 61 of Case
                                                                                          70 number (if known)_____________________________________
                       First Name              Middle Name                     Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here  ...........................................................................................................................................................................................
                                                                                                                                                                                                                                   5,436.21
                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                65,234.52
                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                NJ
                                                                                                           _________

     16b. Fill in the number of people in your household.
                                                                                                                   1
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                 75,321.00
                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a. 
          ✔ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                             5,436.21
                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                            ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                         5,436.21
                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                5,436.21
                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                65,234.52
                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                 75,321.00
                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     
     ✔ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




      Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                           page 3
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Debtor 1     Henry   Bell Jr.                      Document
              _______________________________________________________
                                                                      Page 62 of Case
                                                                                  70 number (if known)_____________________________________
              First Name     Middle Name       Last Name



Pa rt 4 :   Sign Be low


            By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

             /s/ Henry Bell Jr.
                 ___________________________________________________                ____________________________________
                Signature of Debtor 1                                                   Signature of Debtor 2


                     07/06/2022
                Date _________________                                                  Date _________________
                       MM / DD   / YYYY                                                      MM /   DD    / YYYY

            If you checked 17a, do NOT fill out or file Form 122C–2.
            If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 4
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Ally Financial                                        Capital One Bank (USA), N.A.
PO Box 380901                                         4851 Cox Road
Minneapolis, MN 55438                                 Glen Allen, VA 23060


American Express                                      Capital One Bank/Bass
PO Box 981537                                         PO Box 31293
El Paso, TX 79998                                     Salt Lake City, UT 84131


Aspire                                                Carecentrix
PO Box 650832                                         PO Box 2011
Dallas, TX 75265-0832                                 Monroe, WI 53566-8311


Aspire                                                CarePoint Health Christ Hospital
PO Box 105555                                         176 Palisade Avenue
Atlanta, GA 30348-5555                                Jersey City, NJ 07306-1121


Atlantic Medical Group                                CB/Peebles
c/o CMRE Financial Services Inc                       PO Box 182789
3075 E. Imperial Hwy, Suite 200                       Columbus, OH 43218
Brea, CA 92821-6753

                                                      CCS/First Savings Bank
Bank of America                                       500 E 60th St N
PO Box 982234                                         Sioux Falls, SD 57104
El Paso, TX 79998-2234

                                                      Credit One Bank Na
Brenda Bell                                           PO Box 98875
6216 Decker Road                                      Las Vegas, NV 89193
Bushkill, PA 18324

                                                      Del Monte Podiatry
Budget                                                150 Warren Street Ste 201
6 Sylvan Way                                          Jersey City, NJ 07302-6443
Parsippany, NJ 07054

                                                      Delta Storage
Caliber Home Loans, Inc                               71 New Hook Rd.
1301 Wireless Way                                     Bayonne, NJ 07002
Oklahoma City, OK 73134

                                                      Dept Of Ed/582/Nelnet
Capital One                                           PO Box 173904
PO Box 31293                                          Denver, CO 80217
Salt Lake City, UT 84131

                                                      Dept of Education/Nelnet
Capital One                                           121 S 13th St
PO Box 6492                                           Lincoln, NE 68508
Carol Stream, IL 60197-6492

                                                      Enterprise
Capital One Auto Finance                              600 Corporate Park Drive
7933 Preston Road                                     Saint Louis, MO 63105
Plano, TX 75024
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Fedloan                                                HCO 60 Evergreen Internal Medicine
Po Box 60610                                           PO Box 767
Harrisburg, PA 17106                                   South Orange, NJ 07079-0767


First Energy/Metro Edison                              Hop Energy LLC
c/o Penn Credit Corp                                   c/o Frederic C. Goetz, Esq. LLC
PO Box 1259, Dep. 91047                                1011 Hudson Ave., PO Box 454
Oaks, PA 19456                                         Ridgefield, NJ 07657


First National Bank                                    Hudson River Radiology
PO Box 2496                                            120-152 48th Street
Omaha, NE 68103-2496                                   Union City, NJ 07087


First National Credit Card                             Internal Revenue Service
PO Box 5097                                            P.O. Box 7346
Sioux Falls, SD 57117-5097                             Philadelphia, PA 19101-7346


First Premier Bank                                     Jersey City Fire Dept.
601 S Minnesota Ave                                    465 Marin Blvd.
Sioux Falls, SD 57104                                  Jersey City, NJ 07302


First Premier Bank                                     Jersey City Medical Center
PO Box 5524                                            Att: Quality Asset Recovery LLC
Sioux Falls, SD 57117-5524                             PO Box 239
                                                       Gibbsboro, NJ 08026

First Premier Bank
PO Box 5519                                            Jersey City Municipal Utility Authority
Sioux Falls, SD 57117-5519                             Customer Service Center
                                                       69 DeVoe Place
                                                       Hackensack, NJ 07601
First Saving Bank
PO Box 5019
Sioux Falls, SD 57117-5019                             Kensington & Associates
                                                       39252 Winchester Road
                                                       Ste 107-265
FNCC                                                   Murrieta, CA 92563
500 East 60th St North
Sioux Falls, SD 57104
                                                       Liberty Savings Federal Credit Union
                                                       666 Newark Avenue
Gaetana Barba                                          Jersey City, NJ 07306
59 S. Windhorst Avenue
Bethpage, NY 11714
                                                       Lincoln Education Service Corp
                                                       502 W. Germantown Pk
Goldman & Warshaw, P.C.                                Plymouth Meeting, PA 19462
PO Box 2500
Caldwell, NJ 07007-9897
                                                       Merrick Bank
                                                       PO Box 660702
Guthy Renker                                           Dallas, TX 75266-0702
c/o North Shore Agency
112 W. Park Drive, Suite 200
Mount Laurel, NJ 08054                                 Merrick Bank Corp
                                                       PO Box 9201
                                                       Old Bethpage, NY 11804
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Met-Ed                                                   Revco Solutions
PO Box 3687                                              PO Box 163279
Akron, OH 44309                                          Columbus, OH 43216


Meta Surgical Associates                                 RWJ Barnabas Health
PO Box 337                                               PO Box 2978
Park Ridge, NJ 07656                                     Muncie, IN 47307-0978


N/A                                                      Satellite Radio
                                                         PO Box 78054
                                                         Phoenix, AZ 85062
New Jersey Division of Taxation, Bankruptcy U
50 Barrack Street, 9th Floor
P.O. Box 245                                             Select Portfolio Servicing Inc.
Trenton, NJ 08695-0267                                   Attn: Bankruptcy Dept.
                                                         PO Box 65250
                                                         Salt Lake City, UT 84165
New Jersey E-ZPass
c/o Credit Collection Services
725 Canton Street                                        Selip & Stylianou LLP
Norwood, MA 02062                                        10 Forest Avenue- Suite 300
                                                         PO Box 914
                                                         Paramus, NJ 07653-0914
New Jersey Urology
CL#7970
PO Box 95000                                             Simons Agency Inc
Philadelphia, PA 19195-0001                              4963 Wintersweet Dr
                                                         Liverpool, NY 13088

NJ Medical & Health Associates
DBA CarePoint Medical Group                              Sleep on Call
Philadelphia, PA 19182-4276                              c/o James C. Bender, Esq.
                                                         29 Columbia Tpk, Suite 302
                                                         Florham Park, NJ 07932
One Oak Medical Group LLC
342 Hamburg Turnpike
Suite 203                                                Smileactive
Wayne, NJ 07470                                          PO Box 2031
                                                         Harlan, IA 51593-0074

Pocono Medical Center
c/o Computer Credit Inc.                                 SRP 2013-8, LLC
470 West Hanes Mill Road                                 KML Law Group, PC
Winston Salem, NC 27113-5238                             701 Market Street, Ste 5000
                                                         Philadelphia, PA 19106

PSE&G
PO Box 709                                               State of New Jersey Division of Taxation
Newark, NJ 07101-0709                                    PO Box 846
                                                         Trenton, NJ 08646

Publishers Clearing House
c/o Penn Credit Corp                                     State of New Jersey, Dept. of Community Affai
2800 Commerce Drive                                      Bureau of Housing Inspection
Harrisburg, PA 17110                                     101 Broad Street, PO Box 810
                                                         Trenton, NJ 08625-0810

Pyramid Healthcare, Inc.
PO Box 3475
Toledo, OH 43607-0475
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Syncb/Car Care Pep Boy
PO Box 965036
Orlando, FL 32896


Synergetic Communications Inc,
5450 N.W. Central #220
Houston, TX 77092-2016


Tbom/Atls/Aspire
5 Concourse Pkwy Ste 400
Atlanta, GA 30328


TD Bank Na
PO Box 1448
Greenville, SC 29602


The Palmer Firm
PO Box 1600
Rancho Cucamonga, CA 91729


U.S. Bank Trust N.A., as Trustee
13801 Wireless Way
Oklahoma City, OK 73134


US Dept of Education
101 Marietta Tower
Atlanta, GA 30323


US Dept. of Education
Default Resolution Group
PO Box 5609
Greenville, TX 75403-5609


Verizon Wireless Bankruptcy Administration
500 Technology Drive
Weldon Spring, MO 63304
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                                  United States Bankruptcy Court
                                  District of New Jersey




         Henry Bell Jr.
In re:                                                             Case No.

                                                                   Chapter    13
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               07/06/2022                           /s/ Henry Bell Jr.
Date:
                                                    Signature of Debtor



                                                    Signature of Joint Debtor
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)


One University Plaza
Suite 412
Hackensack, NJ 07601
(201) 705-1470
msolomon@moshiesolomonlaw.com




In Re:
                                                                  Case No.:      ____________________

Henry Bell Jr.                                                    Chapter:                13

                                                                  Judge:         ____________________


         DISCLOSURE OF CHAPTER 13 DEBTOR’S ATTORNEY COMPENSATION

  1.      Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for
  the debtor(s) and that compensation was paid to me within one year before the filed date of the petition, or
  agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in connection
  with this bankruptcy case is as follows:
            Under D.N.J. LBR 2016-5(b), I have agreed to accept for all legal services required to confirm
           a plan, subject to the exclusions listed below, including administrative services that may occur
                                                                  4,500.00
           postconfirmation, a flat fee in the amount of $ _________________.     I understand that I must
           demonstrate that additional services were unforeseeable at the time of the filing of this disclosure
           if I seek additional compensation and reimbursement of necessary expenses.

           Legal services on behalf of the debtor in connection with the following are not included in the flat
           fee:
           Representation of the debtor in:
                   adversary proceedings,
                   loss mitigation/loan modification efforts,
                   post-confirmation filings and matters brought before the Court.

           I have received:                                                      3,500.00
                                                                               $ ________________
                     The balance due is:                                         1,000.00
                                                                               $ ________________
                     The balance  will  will not be paid through the plan.
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         Under D.N.J. LBR 2016-5(c), I have agreed to accept for legal services provided on behalf of
        the debtor in this case, an hourly fee of $ _______________. The hourly fee charged by other
        members of my firm that may provide services to this client range from $_______________ to
        $__________________. I understand that I must receive the Court’s approval of any fees or
        expenses to be paid to me in this case post petition pursuant to D.N.J. LBR 2016-1.

                I have received:                                           $ ________________

2.      The source of the funds paid to me was:
         Debtor(s)                 Other (specify below)
        _____________________________________________________________________________

        _____________________________________________________________________________

3.      If a balance is due, the source of future compensation to be paid to me is:
         Debtor(s)                 Other (specify below)
        _____________________________________________________________________________

        _____________________________________________________________________________

4.     I  have or  have not agreed to share compensation with another person(s) unless they are
members of my law firm. If I have agreed to share compensation with a person(s) who is not a member of
my law firm, a copy of that agreement and a list of the people sharing in the compensation is attached.

5.      (a) The Debtor(s) agree that coverage counsel may appear at hearings on their behalf in lieu of
counsel retained by Debtor(s) as needed. If possible, Debtor’s counsel will advise Debtor(s) of the use of
coverage counsel for any hearings prior to that hearing. Debtor(s) acknowledge that coverage counsel
may not be a member of my firm and may or may not be compensated for their appearance.

                                        /s/ HB
                                   _______________                _______________
                                   Debtor(s) Initials             Debtor(s) Initials

         (b) The Debtor(s) DO NOT agree that coverage counsel may appear at hearings on their behalf in
lieu of counsel retained by Debtor(s) as needed. All appearances related to the Debtor(s) matter will be
made by me, the undersigned attorney, or members of my law firm.

                                   _______________                _______________
                                   Debtor(s) Initials             Debtor(s) Initials




                                                        2
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6.    The Debtor(s) have reviewed this Disclosure and it is consistent with the terms of the Retainer
Agreement.


      07/06/2022                                /s/ Henry Bell Jr.
Date: __________________________                _________________________________
                                                Debtor


      07/06/2022
Date: __________________________                _________________________________
                                                Joint Debtor


      07/06/2022                                /s/ Moshie Solomon, 018422001
Date: __________________________                _________________________________
                                                Debtor’s attorney




                                                                                                 rev. 8/1/21




                                                   3
